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                                                                                                                            ••
Merge                          CD                                                                                            •    X

(D) Merged cluster                                                                                           � USOT •   Asset    USO


 Overview     Counterporties       Transfers   Merged cluster content   Addresses


Summary

Clusters                                       Balance                       $221,775.13       Transfers (D                       3
                                               Sent                           $22,006.84       Withdrawals                        1
Activity                                       Received                      $243,801.80       Deposits                           2
Jun 6, 2023 - Feb 5, 2025                      Total fees                          $0.00       Addresses                          1

Merged cluster notes 0

                               r




                                                                                                               Exhibit 10
